Case 2:16-cv-06577-SRC-CLW Document 96 Filed 01/17/18 Page 1 of 3 PagelD: 1220

 

BRG HARRISON LOFTS URBAN
RENEWAL, LLC

Plaintiff
VS.
GENERAL ELECTRIC COMPANY,
ENVIRONMENTAL WASTE
MANAGEMENT ASSOCIATES, LLC,

TECHNOLOGIES, INC.,

Defendants

and ACCREDITED ENVIRONMENTAL:

 

 

EVANSTON INSURANCE COMPANY.
Plaintiff

VS.

ACCREDITED ENVIRONMENTAL
TECHNOLOGIES, INC.,
ENVIRONMENTAL WASTE
MANAGEMENT ASSOCIATES, LLC,
and BRG HARRISON LOFTS URBAN
RENEWAL, LLC

Defendants

 

 

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

CASE NO. 2:16-CV-06577-SRC-CLW

NOTICE OF MOTION FOR AN ORDER
GRANTING DEFENDANT,
ACCREDITED ENVIRONMENTAL
TECHNOLOGY, INC., LEAVE

TO JOIN THIRD-PARTY
DEFENDANTS IN A THIRD-PARTY
COMPLAINT

CASE NO. 2:17-CV-01584-JIMV-JBC

NOTICE OF MOTION FOR AN ORDER
GRANTING DEFENDANT,
ACCREDITED ENVIRONMENTAL
TECHNOLOGY, iNC., LEAVE

TO JOIN THIRD-PARTY
DEFENDANTS IN A THIRD-PARTY
COMPLAINT

 
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TAKE NOTICE that on February 20, 2018, or as soon thereafter as counsel may be heard,

Insurance Company in a Third-Party Complaint.

the undersigned attorney for Defendant, Accredited Environmental Technologies, Inc., will move
before such Judge or Judges of this Honorable Court as are to hear this Motion at the United States
District Court for the District of New Jersey at the Martin Luther King Building and U.S.
Courthouse, 50 Walnut Street, Newark, New Jersey 07101 for an Order granting Accredited
Environmental Technologies, Inc. leave to join J. S. Braddock Agency and Edgehill Special Risk,

Inc. as Third Party Defendants in the above-captioned civil action commenced by Evanston

Defendant, Accredited Environmental Technologies, Inc.

 
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(_) waives oral argument and consents to disposition on the papers.
(X) requests oral argument if this motion is contested.
( ) requests oral argument.

In support of its Motion and for the reasons stated therein, Defendant, Accredited
Environmental Technologies, Inc., shall rely on the attached Certification and Memorandum of
Law.

I certify that the foregoing statements made by me are true. I am aware that if any of the

foregoing statements made by me is willfully false, I am subject to punishment.

Respectfully submitted,

LEONARD, SCIOLLA, HUTCHISON,
LEONARD & TINARI, LLP

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Attorney for Defendant,
Accredited Environmental
Technologies, Inc.
Dated: January 17, 2018

 

 
